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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


 ASSOCIATION OF AMERICAN
 UNIVERSITIES, et al.,

                Plaintiffs,

 v.
                                                      Case No. 1:25-cv-11231
 NATIONAL SCIENCE FOUNDATION, et al.,

                Defendants.


                        DEFENDANTS’ NOTICE
      IN RESPONSE TO THE COURT’S MAY 19, 2025 ORDER (DOC NO. 52)

       Defendants submit this notice in response to the Court’s May 19, 2025 Order.

Doc No. 52. In the Order, the Court stated that: “Defendants shall (1) provide written

notice of the stay by May 21, 2025, to all institutions that have pending funding

applications that may be affected by the Policy Notice, and (2) promptly notify the court

once they have done so.” Defendants submit this notice to inform the Court that NSF has

complied with the Court’s order.

       As set forth in the May 21, 2025 declaration of Quadira Dantro, the National

Science Foundation’s (“NSF”) Director of the Division of Information and Award

Support, attached as Exhibit 1, on May 19, 2025, NSF posted a revised alert on

Research.gov, NSF’s proposal preparation and submission portal used by all

organizations for submitting proposals, management of post-award activities, and agency

communications. Ex. 1 at ¶ 8. The revised alert, in a red banner at the top of the page

with a red exclamation point, states: **UPDATE: IMPLEMENTATION PAUSED** . .
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.” Id. A “See New Details” link in that banner takes the user to

https://www.nsf.gov/policies/document/indirect-cost-rate, the page containing Policy

Notice NSF 25-034. Id. NSF put a yellow banner at the top of the notice with a black

exclamation point that states: “NSF is temporarily pausing implementation of the NSF

Policy Notice: Implementation of Standard 15% Indirect Cost Rate, NSF 25-034, through

June 13, when a hearing is scheduled to occur in the United States District Court for the

District of Massachusetts. New NSF awards issued during this pause will not implement

NSF 25-034, but will include a term applying NSF 25-034 for the entirety of the award

upon a court decision permitting application of the policy.” Id.

        In addition, NSF updated its Policy Office, https://www.nsf.gov/bfa/dias/policy,

and Indirect Cost Rate Policies, https://www.nsf.gov/funding/proposal-budget/indirect-

costs, web pages to communicate guidance on delayed implementation of the standard

15% Indirect Cost Rate limit policy for Institutes of Higher Education (IHEs). Ex. 1 at

¶ 9. NSF also issued a Staff Bulletin to internal staff announcing the pause of the

implementation of NSF Policy Notice 25-034. Id.

       On May 21, 2025, NSF sent a mass distribution email to the NSF external

community, including: 1) all organizations with pending proposals received to date; 2)

official email addresses of all organizations with an active award; 3) all organizations that

submitted a proposal to the NSF within the past seven (7) years; 4) all Principal

Investigators and co-Principal Investigators on active awards; and 5) all users with

financial certifier permissions activated announcing the delay in implementation of the

standard 15% Indirect Cost Rate limit for IHEs. Ex. 1 at ¶ 10. The email communication

provided notice of the delayed implementation of NSF 25-034 and explained that new

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NSF awards issued during this pause will not implement NSF 25-034, but will include a

term applying NSF 25-034 for the entirety of the award if there is a court decision

permitting application of the policy. Id.

Dated: May 21, 2025                          Respectfully submitted,

                                             YAAKOV M. ROTH
                                             Acting Assistant Attorney General

                                             LEAH B. FOLEY
                                             United States Attorney

                                             BRIAN C. LEA
                                             Deputy Associate Attorney General

                                             KIRK T. MANHARDT
                                             Director

                                             /s/ Marc S. Sacks
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                             CERTIFICATE OF SERVICE


        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF).




Dated: May 21, 2025                                   /s/ Marc S. Sacks
                                                      Marc S. Sacks
